     Case 2:21-mc-01118-PA-RAO Document 1 Filed 12/21/21 Page 1 of 6 Page ID #:1




1
     J. Stephen Simms (pro hac vice pending)
     Simms Showers LLP
2    jssimms@simmsshowers.com
3    201 International Circle, Suite 230
     Baltimore, Maryland 21030
4
     Telephone: 443-290-8704
5    Facsimile: 410-510-1789
6
     Lead Counsel
7

8    John A. Crose, Jr., Esq. (SBN 115594)
     jcrose@icclawfirm.com
9
     Law Office of John A. Crose, Jr.
10   2377 Crenshaw Blvd., Suite 151
     Torrance, CA 90501
11
     Telephone: 310-316-1990
12   Facsimile: None
13
     Local Counsel
14

15   Attorneys for Petitioner
     Mobilboxx Europe GmbH
16

17
                          UNITED STATES DISTRICT COURT
18
                         CENTRAL DISTRICT OF CALIFORNIA
19
     In Re the Petition of
20   Mobilboxx Europe GmbH                       Civil Action No.: 2:21-cv-9817
21
     For Discovery in Aid of a
     Foreign Proceeding Pursuant to              PETITION FOR AN ORDER TO
22
     28 U.S.C. § 1782                            OBTAIN DISCOVERY
23                                               PURSUANT TO 28 U.S.C. § 1782
24

25         Petitioner Mobilboxx Europe GmbH (“Mobilboxx” or “Petitioner”) hereby
26   submits this Petition for an Order, pursuant to 28 U.S.C. § 1782 and Rules 26, 30,
27   and 45 of the Federal Rules of Civil Procedure, for the purpose of obtaining
28

     Petition for an Order to Obtain Discovery
     Pursuant to 28 U.S.C. § 1782                                                   Page 1
     Case 2:21-mc-01118-PA-RAO Document 1 Filed 12/21/21 Page 2 of 6 Page ID #:2




1    discovery in aid of a pending foreign proceeding from current or former officers
2    and directors of General Finance Group Inc. (“GFG”) including Marc Perez and
3    Ron Valenta, from affiliated company General Finance Corporation (“GFC”), and
4    from lessees of GFG to which, GFG leased containers owned by Mobilboxx, to
5    assist the proceedings before the District Court of Hamburg, Germany
6    (Landgericht Hamburg) Civil Chamber 10 by Mobilboxx against GFG (the
7    “Hamburg Litigation”).
8          In support of this Petition, Petitioner incorporates the accompanying
9    Memorandum of Law and Declaration of Klaus D. Köncke (the “Köncke Decl.”),
10   and states further as follows.
11         1.     28 U.S.C. § 1782 provides for discovery in the United States to assist
12   foreign tribunals and parties to proceedings before foreign tribunals, and states, in
13   relevant part:
14

15         The district court of the district in which a person resides or is found may
           order him to give his testimony or statement or to produce a document or
16
           other thing for use in a proceeding in a foreign or international tribunal,
17         including criminal investigations conducted before formal accusation. The
18
           order may be made … upon the application of any interested person and may
           direct that the testimony or statement be given, or the document or other
19         thing be produced, before a person appointed by the court.
20

21         2.     The requirements of §1782 are satisfied in this case. As explained
22   further in the accompanying Memorandum of Law: (1) the discovery subjects
23   “resides or [are] found” in this District; (2) the discovery sought is “for use in” a
24   proceeding before a foreign tribunal; and (3) the Petitioner is an “interested
25   person” in that proceeding.      28 U.S.C. § 1782.       The discretionary factors
26   considered by a Court when evaluating a §1782 request also weigh in favor of
27

28

     Petition for an Order to Obtain Discovery
     Pursuant to 28 U.S.C. § 1782                                                  Page 2
     Case 2:21-mc-01118-PA-RAO Document 1 Filed 12/21/21 Page 3 of 6 Page ID #:3




1    granting this application. See Intel Corp. v. Advanced Micro Devices, Inc., 542
2    U.S. 241, 264–65 (2004).
3          3.     The Köncke Decl. confirms that the requested relief is for the purpose
4    of obtaining discovery in aid of a related pending foreign proceeding.
5                          The Dispute and Hamburg Litigation
6          4.     Exhibit A to the Köncke Decl. is a certified, true and correct English
7    translation of the petition filed in the Hamburg Litigation. Köncke Decl. ¶ 1.
8          5.     In 2016 and 2017, Mobilboxx, a German corporation, concluded a
9    total of seven (7) lease agreements with General Finance Group, Inc., 39 East
10   Union Street, Pasadena, CA 91103 (GFG) for a total of 4513 domestic storage
11   containers. The contracts are all identical, and have durations (terms) of between
12   48 and 60 months, and are subject to German law and jurisdiction. Exhibit B to
13   the Köncke Decl. is a copy of one of the lease agreements. Köncke Decl. ¶ 5.
14         6.     GFG’s then founder and CEO, Ron Valenta signed the leases with
15   Mobilboxx. Ron Valenta then was also the founder and CEO of affiliate and
16   NASDAC-listed listed company General Finance Corporation Inc. (GFC).
17   Köncke Decl. ¶ 6.
18         7.     GFG and GFC followed the same business model, to lease out
19   domestic storage containers to over 30,000 clients in USA, Canada, and New
20   Zealand. By information and belief, GFG and GFC’s businesses, employees and
21   recordkeeping overlapped. Köncke Decl. ¶ 7.
22         8.     In May, 2021, publicly traded corporation United Rentals acquired
23   GFC. GFG, the lessee to Mobilboxx, and GFC, however, continue to share the
24   same address and telephone number: 39 Union St # 206, Pasadena, CA 91103
25   (626) 584-9722. Köncke Decl. ¶ 8.
26         9.     The quarterly rental for all seven (7) lease agreements was
27   approximately $220,000. In the third quarter of 2019, Ron Valenta informed
28

     Petition for an Order to Obtain Discovery
     Pursuant to 28 U.S.C. § 1782                                                 Page 3
     Case 2:21-mc-01118-PA-RAO Document 1 Filed 12/21/21 Page 4 of 6 Page ID #:4




1    Mobilboxx GFG’s main client in the oil and gas business (in Texas/Louisiana) was
2    facing problems and therefore GFG could not pay its due rental in time. As a
3    result, Mobilboxx rescheduled and deferred GFG’s payments, such that the
4    deferred amount was supposed to be paid by April 30th, 2021, together with the
5    other ongoing contract rentals. GFG through Ron Valenta claimed GFG would use
6    calendar year 2020 to recover subleased storage containers (which had been leased
7    from Mobilboxx) from clients that had difficulties, and would find new
8    client/lessees which could pay for the storage containers that GFG subleased.
9    Köncke Decl. ¶ 9.
10         10.   When the time came in April 2021 when GFG was supposed to pay
11   the deferred amounts plus the current rentals and repurchases, Ron Valenta and
12   Marc Perez, GFG’s now CEO, advised this was not possible. Köncke Decl. ¶ 10.
13         11.   Mobilboxx therefore issued notice of default to GFG, and demanded
14   that GFG return to Mobilboxx the 4513 containers which Mobilboxx had on lease
15   to GFG. GFG, by Ron Valenta and Marc Perez, responded that GFG had “lost” all
16   4513 of Mobilboxx’s leased storage containers and was unable to return any.
17   Köncke Decl. ¶ 11.
18         12.   The     Hamburg    Litigation   seeks   judgment   against   GFG   for
19   approximately $2,450,000 in unpaid lease amounts with approximately $6,400,000
20   due to Mobilboxx for future lease amounts. Köncke Decl. ¶ 12.
21                                 The Discovery Sought
22         13.   The persons and entities from which Mobilboxx requests discovery
23   pursuant to this Petition are the current or former officers and directors of GFG
24   including Marc Perez and Ron Valenta, presently unknown employees who leased
25   and kept inventory of the Mobilboxx storage containers, and from affiliated
26   company GFC and its employees and offers, who Mobilboxx believes, including
27   because of the close relationship between GFG and GFC, in the same line of
28

     Petition for an Order to Obtain Discovery
     Pursuant to 28 U.S.C. § 1782                                               Page 4
     Case 2:21-mc-01118-PA-RAO Document 1 Filed 12/21/21 Page 5 of 6 Page ID #:5




1    business, may know the location and/or disposition of the Mobilboxx containers,
2    including whether GFG has claimed to have sold the Mobilboxx containers.
3    Mobilboxx also seeks discovery of the GFG lessees, to which GFG leased the
4    Mobilboxx containers, to locate the containers or determine what became of them.
5    Each of the persons or entities from whom or which Mobilboxx seeks discovery is
6    by information and belief resident or found in this District. Köncke Decl. ¶13.
7           14.   Specifically, through this Petition, to mitigate and lessen its damages,
8    Mobilboxx seeks the following discovery in the form of documents and deposition
9    testimony to assist the Hamburg Litigation, including the following subjects:
10                a.    The last known location of each Mobilboxx container leased to
11   GFG;
12                b.    The identity of lessees, including their personnel, which last
13   had possession of any such Mobilboxx container;
14                c.    The sale of any Mobilboxx container, including buyer and
15   amount of sale. Köncke Decl. ¶14.
16          15.   The discovery requested in this Petition is necessary information as to
17   the Hamburg Litigation foreign proceedings. Köncke Decl. ¶15.
18          For the foregoing reasons, as well as those set forth in the accompanying
19   Köncke Decl. and the Memorandum of Law in support of this petition, Petitioner
20   respectfully requests that this Court enter an order, pursuant to §1782, in a form
21   similar to the proposed order attached as Exhibit 1 to the Memorandum, also filed
22   separately herewith, granting leave to conduct the requested discovery in a form
23   similar to the proposed subpoena schedule, Exhibit 2 to the Memorandum.
24          WHEREFORE, for the reasons set forth above, and in the accompanying
25   Memorandum of Law and Simms Declaration, Petitioner respectfully requests that
26   this Court grant this Petition for an Order to Obtain Discovery for Use in a Foreign
27   Proceeding. Petitioner herewith submits a draft order.
28

     Petition for an Order to Obtain Discovery
     Pursuant to 28 U.S.C. § 1782                                                    Page 5
     Case 2:21-mc-01118-PA-RAO Document 1 Filed 12/21/21 Page 6 of 6 Page ID #:6




1    Dated: December 21, 2021.
2

3
     /s/ J. Stephen Simms
     J. Stephen Simms (pro hac vice              John A. Crose, Jr., Esq. (SBN 115594)
4
     pending)                                    jcrose@icclawfirm.com
5    Simms Showers LLP                           Law Office of John A. Crose, Jr.
     jssimms@simmsshowers.com                    2377 Crenshaw Blvd., Suite 151
6
     201 International Circle, Suite 230         Torrance, CA 90501
7    Baltimore, Maryland 21030                   Telephone: 310-316-1990
8
     Telephone: 443-290-8704                     Facsimile: None
     Facsimile: 410-510-1789
9                                                Local Counsel
10   Lead Counsel
11

12                                Attorneys for Petitioner
13
                                 Mobilboxx Europe GmbH

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     Petition for an Order to Obtain Discovery
     Pursuant to 28 U.S.C. § 1782                                                Page 6
